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                   EXHIBIT 3
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                  GOVERNMENT OF THE DISTRICT OF COLUMBIA
                         Office of the Attorney General

ATTORNEY GENERAL
BRIAN L. SCHWALB

Civil Litigation Division
Equity Section

                                        January 13, 2025

VIA EMAIL

Adrian F. Snead
Porter Wright Morris Arthur LLP
2020 K Street, NW
Washington, D.C. 20006
Counsel for Plaintiffs

Re:    Parrott, et al. v. District of Columbia, Case No. 1:21-cv-02930-RCL (D.D.C.)


Dear Counsel:

We are writing in response to your December 16, 2024 letter.

I.     SURVIVING CLAIMS

With regard to Plaintiffs’ procedural due process claims, the Court summarized those claims:

       Plaintiffs’ procedural due process claims are split across Counts II-IV and VI, see
       Am. Compl. ¶¶ 386-413, 428-36, but they essentially involve three theories. First,
       plaintiffs argue that the District violated their due process rights by failing to
       provide a procedure by which they could retrieve their property before a criminal
       case was charged. Second, they argue that the District violated their due process
       rights by failing to give them prompt notice that MPD had seized their property or
       of any procedures available to retrieve it. Third, in Count VI only, they argue that
       the District violated Mr. Joyner's and Mr. Iracks’s due process rights by failing to
       make a postdeprivation procedure available to them while holding their property
       both as evidence and for potential civil forfeiture.

Mem. Op. [45] at 14–15. The Court unambiguously dismissed claims based on the third theory:
“The Court agrees with the District that Count VI does not state a standalone claim specific to
individuals whose property is being held both as evidence and for civil forfeiture.” Id. at 15.
But the Court “[did] not dismiss Counts II-IV of the amended complaint insofar as they allege an
unconstitutional lack of procedures available to contest a deprivation of property,” id. at 21–22,
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and “[did] not dismiss Counts II-IV of the amended complaint insofar as they allege
constitutionally inadequate notice of available procedures for the return of property,” id. at 26.
Accordingly, Plaintiffs’ two remaining claims concern whether (1) Plaintiffs had sufficient
procedures available to them to contest the deprivation of their property and (2) Plaintiffs had
sufficient notice of the procedures available to them to contest that deprivation. To the extent
Plaintiffs are pursuing discovery, it should relate to one of those two issues.

Further, this case remains a putative class action in which, at Plaintiffs’ request, discovery on the
merits was bifurcated from discovery on damages. While the District acknowledges that
Plaintiffs may seek limited discovery related to their anticipated motion for class certification,
Plaintiffs have no right—nor would it make any sense—to seek discovery relating to the merits
of every single potential class member’s claims. If Plaintiffs’ position is that they cannot
determine whether they can establish the requirements of Rule 23 without detailed discovery into
the merits of each potential class member’s claims, then that only serves to prove that class
certification is inappropriate.

II.    OMNIBUS ISSUES

       A.      Date Range for Production

As an initial matter, Plaintiffs have been aware that the District has been using November 5,
2018, as the starting point for its production of certain categories of documents for more than a
year and never raised any concerns. However, Plaintiffs now assert, without any explanation,
that they need documents from 2010 to the present “to make their case.” December 16 Letter at
3. Parrott’s alleged deprivation of property occurred on August 22, 2019. Am. Compl. ¶ 198.
Iracks’s alleged deprivation of property occurred on October 18, 2021. Id. ¶ 284. With regard to
those Plaintiffs (in addition to former Plaintiff Joyner), the District has not withheld any
documents based on their date. And, with regard to EvidenceOnQ, Plaintiffs only requested
information as of November 1, 2018, which the District agreed to use as its starting point.
Therefore, Plaintiffs’ current demand that the District use November 5, 2015, as the starting
point for its document production is inconsistent with Plaintiffs’ own requests. To the extent
there are specific categories of documents that Plaintiffs believe are relevant covering the time
period between November 5, 2015, and November 5, 2018, the District invites Plaintiffs to
identify those categories of documents, and the District will evaluate those requests on a case-by-
case basis. But Plaintiffs have failed to explain why documents pre-dating November 2018 are
relevant, especially when Plaintiffs themselves determined that information in EvidenceOnQ is
only relevant beginning in November 2018.

       B.      Updating Discovery Responses

Plaintiffs assert that the District has “failed” to update its discovery responses. December 16
Letter at 3. Plaintiffs’ assertion, of course, presumes that the District’s responses require
updates, but that presumption appears to be based entirely on when Plaintiffs’ requests were




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propounded. The District has no reason to believe that it is not currently in compliance with
Rule 26(e). 1

With regard to Plaintiffs’ demand that the District catalogue which documents were produced in
response to which request, the District will not do that absent an explanation as to why that is
necessary. Document production in this case has been minimal and it should be self-evident to
Plaintiffs which documents were produced in response to which requests. Further, Plaintiffs’
repetitive and opaque discovery requests would make such an effort unduly burdensome. Unless
Plaintiffs have an actual reason for making this demand, the District will not entertain their
make-work request.

        C.     Privilege Log

The District has withheld one document on the basis of attorney work-product, but a version of
that document has already been produced that did not contain attorney work-product. The
District has also withheld a small number of PD-81Cs because they concerned juveniles. The
District is prohibited by law from disclosing information concerning juveniles without a court
order. However, given that the District has already produced thousands of PD-81Cs that do not
pertain to juveniles, in addition to any PD-81Cs concerning Plaintiffs, the District does not see
why under these circumstances that the Parties would undertake the burden of seeking court
orders relating to the release of this information, which would likely require separate efforts for
each juvenile. The District will provide a log identifying the withheld documents prior to the
close of discovery.

III.    DOCUMENT REQUEST DEFICIENCIES

        A.     Plaintiffs’ First Set of Document Requests

               1.      RFP Request No. 1

Plaintiffs’ discussion of Request No. 1 ignores what this case is about: the possession of
Plaintiffs’ property by MPD as evidence and the procedures available to Plaintiffs to challenge
MPD’s possession of their property as evidence. As Plaintiffs are already aware, the only
avenue available for an individual to challenge the District’s possession of his property as
evidence is by filing a motion in D.C. Superior Court pursuant to Criminal Rule of Procedure
41(g). Notice of Rule 41(g) is provided by publication of the Criminal Rules on the D.C.
Superior Court’s website. This Request has nothing to do with those issues.




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        Plaintiffs misread Rule 26(a)(1)(A)(i). That section does not require a party to identify
“any witness likely to have discoverable information,” as asserted by Plaintiffs. It only requires
disclosure of witnesses that a party is likely to rely on in support of its claims or defenses.
Plaintiffs also appear to have overlooked Rule 26(e)(1)(A). If a witness that a party is likely to
rely on to support its claims or defenses becomes known to the opposing party, Rule 26 does not
require a party to go through the meaningless formality of updating its initial disclosures.


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As Plaintiffs are well aware, the District has already produced all documents in its possession
identified after a reasonable search concerning the property of Parrott, Iracks, and Joyner that
relate to the seizure of that property and efforts to have the property returned. While Plaintiffs’
claim that the District never provided any information about the seizure of former Plaintiff
Joyner’s vehicle, December 16 Letter at 4, that claim is not accurate. The District has produced
many documents concerning the seizure of Joyner’s vehicle and efforts to have his vehicle
returned to him as is readily apparent from the face of the documents. See DC-2021-cv-2930-
00002713–2846.

But the District will not entertain Plaintiffs’ demand that it produce “all documents of whatever
kind” relating to Plaintiffs’ property, especially given that Plaintiffs do not have any remaining
claims concerning the validity of the seizure or retention of their property. For example, as
Plaintiffs know, Parrott’s vehicle was seized because it was used in the commission of a crime.
Documents concerning MPD’s investigation into that crime have absolutely no bearing on
Plaintiffs’ procedural due process claims.

Plaintiffs’ arguments concerning EvidenceOnQ have been discussed by the Parties ad nauseum.
EvidenceOnQ is MPD’s primary system for tracking seized property. The District long ago
provided Plaintiffs with an export from EvidenceOnQ that included all available data fields. The
District has explained to Plaintiffs many times that MPD does not track on a system-wide basis
which vehicles or smartphones are related to a papered Superior Court prosecution. Further,
Plaintiffs questioned Detective McCarthy extensively about that subject and Detective McCarthy
repeatedly explained that the only way to definitively determine whether seized vehicles and
smartphones were related to a papered Superior Court prosecution would be to conduct a case-
by-case analysis. The District has also repeatedly explained to Plaintiffs that MPD does not have
a specific system set up to track when a criminal defendant inspected property and that it does
not possess information about a piece of property’s actual owner. Taking Parrott again as an
example, although she alleges that she is the “owner” of the vehicle that was seized from her, she
also alleges that the vehicle is not registered in her name, rather, it is registered to her mother.
See Am. Compl. ¶ 229. Presumably, Parrott is asserting that her mother registered the vehicle by
attesting to the D.C. DMV that she had power of attorney for Parrott, whose name presumably
appears on the certificate of title. When MPD seizes a piece of property, and it seizes thousands
of pieces of property each year, it does not conduct an extensive investigation into who the
actual owner of the property may be. Regardless, the discovery sought by Plaintiffs has nothing
to do with their ability to contest the seizure of their property or their notice of those procedures.

To the extent Plaintiffs have sought discovery that is actually relating to their procedural due
process claims, the District has worked with them in good faith to provide that discovery. For
example, Plaintiffs allege that Rule 41(g) is only available to challenge the seizure of property if
a criminal case has been initiated in Superior Court. To that end, the District investigated its
ability to identify for Plaintiffs which pieces of property were related to criminal cases, and the
District provided Plaintiffs with all information it could reasonably obtain—without conducting
a case-by-case analysis for thousands of pieces of property—that would enable Plaintiffs to make
that determination.




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Finally, to the extent Plaintiffs believe that there is still information they need, they should focus
on identifying that information and end their myopic focus on fields.

               2.      RFP Request No. 2

The District incorporates its response to Request No. 1. To reiterate, the District has already
produced to Plaintiffs all documents concerning the actual seizure of their property along with
their efforts to seek the return of that property. The District has already produced to Plaintiffs an
export from EvidenceOnQ that identifies thousands of vehicles and cellphones that have been
seized by MPD since November 1, 2018, along with all information contained in EvidenceOnQ
about those seizures (with the exception of social security numbers). The District has already
produced to Plaintiffs information reasonably available to it that identifies which pieces of
property are related to criminal prosecutions.

The District will not respond to Plaintiffs’ demand that it produce information concerning why
property was seized from putative class members. See December 16 Letter at 6. As discussed
above, the reason why any individual’s property was seized is not relevant to Plaintiffs’
procedural due process claims.

               3.      RFP Request Nos. 3–4

The District incorporates its above responses. To reiterate, the District has already produced all
available fields of data from EvidenceOnQ, which is the database that MPD uses to track seized
property. Efforts to obtain the same information from other databases would be unduly
burdensome and not proportional to the needs of the case. Further, Plaintiffs fail to identify any
information missing from EvidenceOnQ that both would be found in other databases and would
be relevant to their procedural due process claims. For example, Plaintiffs demand that the
District search the Axion database for pictures and video of seized property. Yet Plaintiffs fail to
explain how pictures or video of seized property has anything to do with their claims.

Lastly, the District has time and again informed Plaintiffs that it has already produced to them all
documents in its possession in the nature of manuals, data dictionaries, etc., that relate to
EvidenceOnQ.

               4.      RFP Request No. 5

The District incorporates its above responses. In addition, the District has already identified for
Plaintiffs the individual at MPD most knowledgeable about the operation of EvidenceOnQ
(Commander Conboy), and Plaintiffs have already deposed Commander Conboy. Further, as
explained above, Plaintiffs’ focus on obtaining a list of all fields from EvidenceOnQ misses the
point. If there is information Plaintiffs believe that is relevant to their procedural due process
claims that they are seeking, they should identify that information.

Plaintiffs also continue to misrepresent the content of the deposition testimony of Jerrell Carter,
which was taken nearly nine years ago and in a case involving entirely different claims.
Plaintiffs claim that Carter explained in his testimony “how a list of fields in EvidenceOnQ could



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be generated out of EvidenceOnQ as a report.” December 16 Letter at 9. The District has
included the testimony referenced by Plaintiffs below and invite Plaintiffs to identify where
Carter does so.

       Q: So, looking back at Exhibit 2, the big user manual, so we are going to start on
       page 27. So, this is Chapter 4, it’s entitled, “Queries.” Would you mind reading
       that first paragraph there?

       A: “With the powers and flexibility of the EvidenceOnQ desktop application, it can
       search the system quickly and easy, because every field on the print file screen is
       searchable, you can search by any criteria or any combination of fields. You can
       also search by date, by location, by scanning, as a group, or by creating your own
       customized search.”

       Q: Thank you. So, is it -- you are saying then that any field on the screens that we
       talked about are searchable?

       A: Yes.

Deposition of Jerrell Carter at 89:4–22 (Mar. 1, 2016). Carter, literally, never uses the word
“report” once in the testimony despite Plaintiffs’ claim to the contrary. Regardless, Plaintiffs’
focus should be on whether EvidenceOnQ can provide them with information relevant to their
claims, not on the theoretical capabilities of EvidenceOnQ.

               5.      RFP Request No. 6

The District incorporates its above responses.

               6.      RFP Request No. 7–8

The District incorporates its above responses.

               7.      RFP Request No. 9

The District incorporates its above responses. The District agrees to provide Plaintiffs with an
explanation of the meaning of the headers in the export from EvidenceOnQ that was produced to
Plaintiffs. The District will also investigate the feasibility of capturing screenshots of the drop
down menus.

               8.      RFP Request No. 10–12

The District incorporates its above responses. Further, these Requests concern the seizure of
property for civil forfeiture. Plaintiffs’ claims do not concern the seizure of property for civil
forfeiture. Even if these Requests sought relevant information, as stated in the District’s
objections, the Requests reference and rely on deposition testimony that was not provided to the
District.



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               9.      RFP Request Nos. 14–16

The District incorporates its above responses. In addition, Plaintiffs’ abridged summary of its
Requests fails to accurately convey the extreme breadth of those Requests. The District
maintains its objection that the scope of these Requests is overbroad, unduly burdensome, and
not proportional to the needs of the case.

Given that Plaintiffs have not previously raised any concerns with the District’s responses to
these Requests, the District will investigate and confirm that it has provided the documents it
agreed to produce. However, Plaintiffs still appear to miss the point. For example, Request No.
16 seeks documents relating to MPD’s processing of evidence. MPD’s processing of evidence
has no relevance to the litigation at this stage because the processing of evidence has nothing to
do with Plaintiffs’ ability to challenge the seizure of their property under Rule 41(g).

               10.     RFP Request Nos. 17–18

The District incorporates its above responses. Request No. 17 concerns property seized for
forfeiture, which is not a relevant issue in this case. And, although Plaintiffs assert that Request
Nos. 16 and 18 seek different categories of documents, Plaintiffs fail to explain how the
Requests are in any way different. If Plaintiffs are able to actually articulate the supposed
differences between these Requests, the District will consider Plaintiffs’ explanation, then
reevaluate the sufficiency of its productions.

               11.     RFP Request No. 19

The District incorporates its above responses. According to Plaintiffs, the District should
interpret Request No. 19 as requiring it to produce every single document, including all emails,
that were exchanged between any U.S. Attorney’s Office employee or any Office of the Attorney
General employee and any MPD employee concerning any piece of property from November 5,
2015, through the present. The District declines to do so. The District has already searched for
and produced those documents to the extent they relate to Plaintiffs’ property.

Further, any procedures relating to the tracking of property have nothing to do with Plaintiffs’
ability to challenge the seizure of their property or their notice of any available procedures.

               12.     RFP Request No. 20

The District incorporates its above responses. Not only is property seized for forfeiture not
relevant to this litigation, but this Request is clearly overbroad and unduly burdensome given
that it demands that the District search for property releases covering nearly 15 years.

               13.     RFP Request No. 21

The District incorporates its above responses. As an initial matter, the District notes that
Plaintiffs quietly attempt to narrow the scope of this Request to November 1, 2018, to the



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present, from April 1, 2010, to the present, which further undermines their argument that
November 5, 2015, should for some reason be the appropriate starting date for document
production. December 16 Letter at 13. Regardless, Plaintiffs’ argument in support of this
Request makes no sense. This Request is not limited to Plaintiffs’ property. It concerns any
vehicle offered as evidence. It is unclear how a different vehicle owned by a different person
would impact “whether Plaintiffs had notice and an opportunity to be heard.” Id.

Even assuming this Request sought relevant information (it does not), it is plainly unduly
burdensome and not proportional to the needs to the case. To respond, the District would need to
identify every vehicle seized as evidence, then conduct a case-by-case analysis to determine if at
any stage in that prosecution the vehicle was not just admitted as evidence, but offered as
evidence.

Further, Plaintiffs again miss the point. A vehicle being held as evidence in connection with a
criminal prosecution would not be held for the sole purpose of being introduced as evidence
itself. It would also be held so that the defendant could inspect it and could also be held so that
any additional testing that might be relevant could be performed.

               14.     RFP Request No. 22

No response is required at this time.

       B.      Plaintiffs’ Second Set of Requests for Production of Documents

Plaintiffs’ discussion of what has transpired between the Parties concerning this Request is again
grossly inaccurate and misleading.

First, as the District has explained to Plaintiffs many times, it has no ability to determine which
motions for return of property were filed by individuals who were not criminal defendants absent
a case-by-case analysis using information that is equally available to Plaintiffs.

Second, as the District has explained to Plaintiffs many times, it has no greater ability to obtain
publicly available court documents than Plaintiffs.

Third, as the District has explained to Plaintiffs many times, the Office of the Attorney General
has no ability to simply override a Court order sealing a case. The District has repeatedly
informed Plaintiffs that a motion must be filed to allow the Parties to access those records, and
the District has repeatedly offered to join Plaintiffs in that effort. Thus far, Plaintiffs have
refused those offers.

       C.      Plaintiffs’ Third Set of Requests for Production of Documents

               1.      RFP Request No. 1

Plaintiffs again misrepresent the record. Plaintiffs claim that “[t]he District did not plead
affirmative defenses in its Answer.” December 16 Letter at 16. It plainly did. See Answer [48].



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The District has no additional documents to produce in response to this Request at this time, but
will supplement its production as necessary.

                2.      RFP Request No. 2

The District maintains its objections to this Request. Even though this Request does not seek
relevant documents, the District has already produced the requested documents relating to
Plaintiffs. Plaintiffs’ demand that the District search the inboxes of hundreds of individuals
using thousands of search terms is plainly overbroad, unduly burdensome, and not proportional
to the needs of the case.

                3.      RFP Request No. 3

Plaintiffs yet again misrepresent the record. As explained in the District’s response to this
Request, which Plaintiffs fail to acknowledge, the District stated that it would produce
documents relating to the named Plaintiffs. But, as Plaintiffs are obviously aware, the Parties
engaged in further discussions regarding this Request, and the District agreed to produce PD-
81Cs that it was able to collect using EvidenceOnQ. Accordingly, the District produced more
than 3,000 PD-81Cs on October 4, 2024. Plaintiffs’ claim that the District has only “produced
11 pages comprising three PD 81Cs and four property records” is therefore incorrect.

                4.      RFP Request No. 4

The District incorporates its above responses, and stands on its prior response and objections to
this Request. However, Plaintiffs’ aversion to accuracy continues. Plaintiffs argue that the
District took the position that “the notices provided are irrelevant,” and then attack that strawman
by stating that “[a]s the District itself admits, the current part of Plaintiffs claim [sic] is that the
District ‘failed to provide . . . constitutionally adequate notice of available procedures for the
return of property.’” December 16 Letter at 18. However, this Request does not concern “notice
of available procedures for the return of property.” What the District actually stated was that
“this Request seeks irrelevant information to the extent it seeks information about the notice of
seizure itself” because “[t]his Court dismissed Plaintiffs’ claims concerning notice of seizure.”

                5.      RFP Request No. 5

The District incorporates its above responses, and stands on its prior response and objections to
this Request.

        D.      Plaintiffs’ Fourth Set of Requests for Production of Documents

                1.      RFP Request No. 1

The District incorporates its above responses, and stands on its prior response and objections to
this Request.




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               2.      RFP Request No. 2

The District incorporates its above responses, and stands on its prior response and objections to
this Request.

               3.      RFP Request No. 3

The District incorporates its above responses, and stands on its prior response and objections to
this Request.

               4.      RFP Request No. 4

The District incorporates its above responses, and stands on its prior response and objections to
this Request. As noted above, the District has already produced to Plaintiffs everything it has in
the nature of a “data dictionary,” and the District agrees to provide Plaintiffs with an explanation
of the meaning of the headers in the EvidenceOnQ export that was produced to Plaintiffs.

               5.      RFP Request No. 5

The District incorporates its above responses, and stands on its prior response and objections to
this Request.

As to the search that the District conducted to identify documents relevant to Plaintiffs’ own
property, Plaintiffs have known for ages the custodians and search terms that the District used to
identify responsive documents. Plaintiffs never raised any concerns about the parameters of that
search. To the extent Plaintiffs wanted the District to conduct a more expansive search, they
should have raised that with the District. While the District remains willing to consider
suggestions from Plaintiffs as to the scope of that search, the District will of course have to take
into account the belated nature of such suggestions when assessing the burden associated with
any additional searches.

               6.      RFP Request No. 6

The District incorporates its above responses, and stands on its prior response and objections to
this Request. Tellingly, despite Plaintiffs’ bluster, they fail to explain how information relating
to obtaining data from cellphones is “directly relevant” to whether Plaintiffs had a
constitutionally adequate remedy to challenge the seizure of their property.

With regard to the documents the District stated it would produce, the District will determine
whether it has any additional documents to produce, and if so, will produce those documents by
January 24, 2025.




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IV.     INTERROGATORY DEFICIENCIES

        A.     Plaintiffs’ First Set of Interrogatories

               1.      Interrogatory No. 1

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory.

               2.      Interrogatory No. 2

The District incorporates its above responses. As Plaintiffs are aware, since the District’s
response to this Interrogatory, the District has produced a voluminous export from EvidenceOnQ
of all reasonably available information relating to seized vehicles and cellphones; it has produced
all reasonably available information that identifies which seized vehicles and cellphones are
related to criminal cases; and it produced all PD-81Cs that were obtainable from EvidenceOnQ.
Further, Plaintiffs fail to explain how the information they are seeking is at all relevant to their
procedural due process claims or motion for class certification.

        B.     Plaintiffs’ Second Set of Interrogatories

As noted above, Plaintiffs’ claim that the District did not plead any affirmative defenses is
simply wrong. Further, Plaintiffs’ reliance on Lennon v. U.S. Theatre Corp., 920 F.2d 996 (D.C.
Cir. 1990), is misplaced. Lennon was discussing the waiver of affirmative defenses after a final
judgment had been issued in district court. An applicable case would be Barnes v. District of
Columbia, 270 F.R.D. 21, 22–23 (D.D.C. 2010) (RCL). There, the plaintiffs requested that the
defendant “[s]tate each affirmative defense on which you intend to rely and please describe each
document and deposition transcript and other evidence on which you intend to base each
defense.” In response, the defendant directed the plaintiffs to its answer, stated that it had
already produced all documents that supported its affirmative defenses, and stated further that it
“reserves the right to assert additional defenses as further information becomes available.” Id.
The plaintiffs moved to compel on the ground that the defendant’s response was not sufficient.
Id. The court denied the motion to compel because “[u]nder the law of this Circuit, defendant
does not yet have to raise these defenses. It may wait until the summary judgment stage or
possibly the pretrial statement stage to assert all of its defenses.” Id.

        C.     Plaintiffs’ Third Set of Interrogatories

               1.      Interrogatory No. 1

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory. In addition, Plaintiffs claim that they need all records of inspections of
property by defense counsel, presumably, “to make their case.” Yet, Plaintiffs never explain
how the details surrounding the inspection of property by defense counsel is in any way relevant
to their remaining claims. It is time for Plaintiffs’ fishing expeditions, which appear to be aimed
solely at manufacturing discovery disputes, to end.



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               2.     Interrogatory No. 2

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory.

               3.     Interrogatory No. 3

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory.

               4.     Interrogatory No. 4

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory.

               5.     Interrogatory No. 5

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory.

               6.     Interrogatory No. 6

The District incorporates its above responses, and stands on its prior response and objections to
this Interrogatory.

Sincerely,

BRIAN L. SCHWALB
Attorney General for the District of Columbia

By:     /s/ Richard P. Sobiecki
        Richard P. Sobiecki
        Assistant Attorney General

Cc:     Helen M. Rave, Assistant Attorney General
        Brendan Heath, Assistant Attorney General




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